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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                          CASE NO. 3:15cr60-002/MCR

ERIC T. EAKES
                                      /


            JUDGMENT OF ACQUITTAL ON JURY VERDICT

      Based on the jury’s verdict of not guilty as to this defendant on Counts One

through Eight following a trial on May16 - 26, 2016, the defendant ERIC T. EAKES

is hereby ADJUDGED NOT GUILTY of the charges in Counts One through Eight,

and these charges are hereby DISMISSED.

      DONE and ORDERED at Pensacola, Florida, this 31st day of May, 2016.




                                 s/   M. Casey Rodgers
                               M. CASEY RODGERS
                               CHIEF UNITED STATES DISTRICT JUDGE
